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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:20-CR-00093-NONE-SKO
12                                Plaintiff,
13                   V.
     JOSE AVALOS-CASTRO,
14
                                 Defendant.
15
     UNITED STATES OF AMERICA,                          CASE NO. 1:20-CR-00094-NONE-SKO
16
                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
17                                                      TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                          FINDINGS AND ORDER
18
     REYNALDO VILLANUEVA,                               DATE: August 17, 2020
19   ,                                                  TIME: 1:00 p.m.
                                                        COURT: Hon. Sheila K. Oberto
20                               Defendant.
21

22          Defendants Jose Avalos-Castro and Reynaldo Villanueva were arraigned on June 18, 2020. This

23 case is set for a status conference on August 17, 2020. On July 17, 2020, the Honorable Judge Drozd

24 held a hearing on the defendants’ motion to dismiss the criminal charges, and the matter was taken under

25 submission. In light of the fact that the motion is now under submission, the parties hereby stipulate that

26 time should be excluded from today’s date through the August 17, 2020 status conference.
27                                              STIPULATION

28          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

      STIPULATION REGARDING EXCLUDABLE TIME             1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1 through defendants’ counsel of record, hereby stipulate as follows:

 2         1.      By previous order, this matter was set for status on August 17, 2020.

 3         2.      By this stipulation, defendants and the government now move to exclude time between

 4 July 17, 2020, and August 17, 2020, under Local Code T4.

 5         3.      The parties agree and stipulate, and request that the Court find the following:

 6                 a)     The government has represented that the discovery associated with this case

 7         includes wire and electronic interceptions, transcripts, line sheets, investigative reports and

 8         related documents, criminal history reports, photographs, video and audio recordings, and search

 9         warrants and other court orders. The discovery in this case is voluminous, consisting of many

10         terabytes of electronic surveillance data in addition to thousands of pages of reports and other

11         documents. The government has provided some of this discovery and will continue to provide it

12         on an ongoing basis.

13                 b)     Due to the ongoing COVID-19 pandemic, counsel has not had an adequate

14         opportunity to review discovery with his client in person. Counsel for defendants desire

15         additional time review discovery provided by the government, conduct additional investigation

16         regarding the charges, consult with his client, and discuss potential resolution with the

17         government.

18                 c)     Counsel for defendants believe that failure to grant the above-requested

19         continuance would deny him/her the reasonable time necessary for effective preparation, taking

20         into account the exercise of due diligence.

21                 d)     The government does not object to the continuance.

22                 e)     Based on the above-stated findings, the ends of justice served by continuing the

23         case as requested outweigh the interest of the public and the defendants in a trial within the

24         original date prescribed by the Speedy Trial Act.

25                 f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

26         et seq., within which trial must commence, the time period of August 17, 2020 to September 28,

27         2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

28         T4] because it results from a continuance granted by the Court at defendants’ request on the basis

      STIPULATION REGARDING EXCLUDABLE TIME              2
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1            of the Court’s finding that the ends of justice served by taking such action outweigh the best

 2            interest of the public and the defendants in a speedy trial.

 3            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 4 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 5 must commence.

 6            IT IS SO STIPULATED.

 7

 8
      Dated: July 17, 2020                                      MCGREGOR W. SCOTT
 9                                                              United States Attorney
10
                                                                /s/ KATHERINE E. SCHUH
11                                                              KATHERINE E. SCHUH
                                                                Assistant United States Attorney
12
      Dated: July 17, 2020                                      /s/ EMILY TAKAO
13                                                              EMILY TAKAO
14                                                              Counsel for Defendant
                                                                Jose Avalos-Castro
15

16    Dated: July 17, 2020                                      /s/ NICHOLAS REYES
                                                                NICHOLAS REYES
17                                                              Counsel for Defendant
                                                                REYNALDO VILLANUEVA
18

19
                                              FINDINGS AND ORDER
20
21 IT IS SO ORDERED.

22

23
     Dated:        July 20, 2020                                     /s/   Sheila K. Oberto            .
                                                          UNITED STATES MAGISTRATE JUDGE
24

25

26
27

28

      STIPULATION REGARDING EXCLUDABLE TIME                 3
30    PERIODS UNDER SPEEDY TRIAL ACT
